     Case 4:20-cv-03213 Document 8-1 Filed on 12/07/20 in TXSD Page 1 of 1


                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

AIG PROPERTY CASUALTY COMPANY, §
          Plaintiff,           §
                               §
      v.                       §                         CIVIL ACTION NO. 4:20-CV-03213
                               §
MARK ANDREW SCHULTZ,           §
          Defendant.           §
                               §
                               §

              ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS

       Came on to be heard defendant Mark Andrew Schultz’ Motion to Dismiss Plaintiffs’ Claim

or in the Alternative, Motion to Stay, and the Court, having reviewed the Motion, is of the opinion

that said Motion should be, in all things, GRANTED. It is therefore

       ORDERED that defendant Mark Andrew Schultz’ Motion to Dismiss Plaintiff’s Claim or in

the Alternative, Motion to Stay or Abate is hereby GRANTED. It is further ORDERED that:

       a. _____ the complaint is dismissed without prejudice for plaintiffs’ failure to state a viable
                claim against defendant; or

       b. _____AIG’s request for declaratory judgment is stayed until it is determined whether the
               amount of damages, if any, Schultz may become legally liable to pay exceeds the
               limits of his underlying policy of insurance or further developments necessarily
               require resolution of AIG’s duties under the AIG Policy;


       SIGNED this ______ day of _________________, 202__.



                                              ______________________________________
                                              HONORABLE SIM LAKE,
                                              UNITED STATES DISTRICT JUDGE




                                                 1
